Case 1:21-cr-20495-KMW Document 1 Entered on FLSD Docket 09/30/2021 Page 1 of BA
                                                                              14


                                                                                          Sep 30, 2021

                             UNITED STATES DISTRICT COURT
                             SOU TH ERN D ISTR ICT O F FL O R ID A

                              21-20495-CR-WILLIAMS/MCALILEY
                               CA SE N O .
                                              18U.S.C.j371

  UNITED STATES OF AM ERICA

  V.

  M ICH AEL J.V A N N O STM N D
  and STRIC TLY R EPTILES,IN C.

                Defendants.
                                         /

                                         INFO R M A TIO N

         The A cting U nited StatesA ttom ey charges that:

                                  G ENE R AL AL LEG A TIO N S

         A ta11tim esm aterialto thisInform ation:

                D efendant M ICH AEL J.V A N N O STM N D , a resident of Browazd C ounty,

  Florida,w asPresidentofdefendantSTR ICTLY RE PTILES,IN C.,aFlorida corporation located

  at6450 Stirling Road in H ollyw ood,Florida,w hich w asengaged in the dom estic and international

  wholesale trade ofw ildlife,including protected species ofreptiles.

               The Lacey A ctm ade itunlawfulforatly person to m ake or subm itany false record,

  account,orlabelfor,orany falseidentification ofany wildlife,including repiilesand any part,
  product,egg,oroffspring thereof,w hich hasbeen,orisintended to be,exported,transported,sold,

  orpurchasedortransportedininterstateorforeign commerce. 16U.S.C.j3372(d)(1),(2).
                In addition,theLacey Actmadeitlhlnlawf'ulforany person - (2)to ...export,
  transpol't,sell,receive,acquire,orptlrchaseininterstateorforeigncommerce-(A)any...wildlife
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  taken,possessed,transported,orsold in violation ofany law orregulation ofany State ...'',or

  attempttodoso. See16U.S.C.j3372(a)(2)(A),3372(a)(4).
           4.   The Lacey A ct defines Gtw ildlife''as GGany w ild anim al,w hether alive or dead,

  includingwithoutlimitationsanywildmamm al,bird,reptile,am phibian,fish,m ollusk,qrustacean,

  m'tllropod,coelenterate,or other invedebrate,w hether or not bred,hatched,orbol'n in captivity,

  andincludesanypal'
                   t,product,egg,oroffspringthereof.'' 16U.S.C.j3371(a).
           5.   Regulations enacted under the Endangered Species A ct,Title 16,U nited States

  Code,Section 1531,etseq.,also requirethatan exporterofwildlife com plete a çr eclaration for

  lmportationorExportationofFishorW ildlife''(USFW SForm 3-177)andsubmitittotheUSFW S
  priortotheexportation ofwildlife. Tllisofficialform requiresthateach speciesofwildlifeto be

  exported be listed along w ith theirrespective scientific nnm e,Convention on InternationalTrade

  in Endangered Species ofW ild Fauna and Flora permitnlzmbers (CITES) (for Cl-
                                                                              fEs-listed
  species),thequantity ofnnimalsby species,the sourceofthewildlifetobeexpoded (whether
  G&wild-caught''or(Gcaptive-bred'),andthemonetaryvaluesofthewildlifeby species.Fudher,the
  form includes a certification by the expoMer or the expoMer's agent attesting to the tnzth and

  completenessoftheform tothebestofhis/herknowledgeand belief. See50 C.F.R.jj 14.61,
  14.63.

           6.   In addition to the USFW S Form 3-177, other docum ents, including invoices,

  waybills,and any required CITES exportperm its,are required to be presented to an officerofthe

  U SFW S orCustom s and BorderProtection officer before obtaining expol'
                                                                        tclearance. 50 C .F.R.

  j14.52,19C.F.R.j148.11.
           7.   Florida A dm inistrative Code 68A -25.002, CiGeneral Provisions for Taldng,
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  Possession and SaleofReptiles''provided in Section ç((6)Turtles,''Subsection ç((c)Sale- No
  person shallbuy,sell,orpossessforsalett
                                        uvtles,theireggsorpartsthereof,thathavebeen taken

  from the w ild.''

                      CO N SPIM CY TO IL LEG A LLY TR AFFIC W ILD LIFE
                         IN INTE RSTA TE A ND FO RE IGN C O M M ER CE

                 Begilming in'orrotmd April2017,and continuing untilin orarotmd April2019,

  in M inmi-Dade and Broward Counties,in the Southez'
                                                    n DistrictofFlorida,arld elsewhere,the

  defendants,

                                M IC H A EL J.V AN N O STR AN D
                                              and
                                 STR ICTLY R EPTILES,IN C .,

  didwillfully,thatis,withtheintenttof'urthertheobjectoftheconspiracy,andknowinglycombine,
  conspire,confederate,andagreewith each otherandwithothersknown and unknown totheA cting

  United StatesAttorney,to comm itan offense againstthe United States,by knowingly exporting

  wildlife,thatis,tllree-stripemud '
                                   turtles(Kinosternon baurii),Floridamudturtles(Kinosternon
  s'zfàlrzfbrzf?z/steindachneri),muskturtles(Sternotherusodoratus),soft-shellturtles(Apalone# rox),
  andchickenttzrtles(Deirochelysreticularia),knowingthatsaidwildlifeweretransportedandsold
  in violation ofthelawsandregulationsoftheUnited States,thatis,Title 16,United StatesCode,

  Sections3372(a)(2)(A),3372(d)(1),(2),3373(d)(1)(A),3373(d)(3)(A)andTitle18,UnitedStates
  Code,Section 554.

                                   Purpose ofthe Conspiracv

                 The purpose ofthe conspiracy w as forthe defendants and their co-conspiratorsto

  sm uggle turtles protected under the law s of the State of Florida out of the United States for

  financialgain.
                                                 3 -
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                                 M anner and M eansoftheConspiracv

            The marmerand meansby wllich the'defendants soughtto accomplish the objectand
     purposeofthe conspiracy included,am ong others,the following:

                     The coccm spirators established a netw ork of lçcollectors'' adept at finding and

     capturing variousspecies ofturtlesfrom thewild within the State ofFloridaand concealing that

     activil ,in palt byhaving collectorsobtain licensesfrom theState ofFloridatom aintain and sell

     Etcaptive-bred''turtlesto providethe appearance thet'
                                                         urtleswerelegally obtained.

                     The collectors would periodically transportt'urtles taken 9om the wild to the

     businesspremisesofSTRICTLY REPTILES,INC.,in Hollyw ood,Florida,whereM ICH AEL

     J.VAN NO STR AND orothercoconspiratorswouldpay thecollectorsfortheturtles,by business

 (
     checks drawn on the accounts ofSTR ICT LY R EPTILE S,IN C.

            12.     STR ICTLY RE PTILES,IN C ., M IC H A EL J. V AN N O STM N D and other

     coconspirators,using instrum entalitiesofinterstate and foreign com m erce,w ould m arket,sell,and

     ship the illegally acquired ttu'tlesto both interstate and foreign custom ers,including purchasersin

     Louisiana,Califom ia,Japan,and China.

                    Toconcealthe illegalorigin ofthet'urtles,USFW S Form s3-177wereprepared for

     each oftheintem ationalshipmentswhich contained afalseGtorigin code''a'
                                                                           ttesting thatthet'urtles

     w ere captive bred and notw ild-caught.

            14.     STRICTLY RE PTILES,lN C ., M IC H AEL J. V AN N O STM N D and other

     coconspiratorsbenetm ed from the illegalsale ofthe wild-caughtturtles tllrough the paym ents

     rem itted by interstate and foreign custom ersforthe m erchandise.



                                                     4 -
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                                              O vertA cts

        In furtheranceofthe conspiracy,and to accomplish thepup osethereof,atleastoneofthe

  defendants,M IC H A EL J.V AN N O STM N D and STR ICTLY REPTILE S,lN C .,or one or

  more oftheirco-conspirators,comm itted and caused to be comm itted in the Southem Districtof

  Florida,and elsewhere,oneormoreofthefollowing overtacts,am ong others:

                                        OV ER T A C TS

               On oraboutApril15,2017,a coconspiratorsold turtles,trapped from thewild in
               the State of Florida, to M IC H AEL VA N NO STM N D and STRIC TLY
               REPTILES,IN C.in Hollywood,Florida,for$301.50.
               On or about June 8, 2017, a coconspirator signed a check in the am otmt of
               approximately $1,161 in paym ent to a coconspirator as compensation for the
               delivery ofapproximately 100tllree-stripeM UD turtles(Kinosternon baurii)and
               100 musk turtles(Sternotherus odoratus),taken from thewild,to STRICTLY
               REPTILE S,IN C .in H ollyw ood,Florida.

               On oraboutJune 22,2017,M ICH AEL V AN N O STR AN D placed aphone callto
               a coconspiratorrequesting thatthe coconspiratorprovide three-stripe m ud turtles.

               On or about August 23, 2017, M ICH A EL V A N N O STR AN D negotiated the
               purchase offifty-fotlr(54)wild-caughtFlorida turtlesincluding thirty-two (32)
               three-stripemudturtlesandtwenty-two(22)musktul-tles,whichhepurchasedwith
               a check in the am ount of $546.00, drawn on the account of STRICTLY
               REPTILE S,IN C .in H ollyw ood,Florida.

               On or aboutN ovember 22,2017,M ICH AEL VAN NOSTRAND sent a text
               messageto Cooperating Source 1(hereafterCS1),réquestingthatCS1providea
               minimum ofthil'ty(30)adultthree-stripemudturtles.
       6       On or about N ovem ber 24, 2017, M ICH AE L V A N N O STM N D and a
               coconspiratorsortedandplzrchasedwild-caughtFloridaturtlesf'
                                                                         rom CSI,including
               thirty-five(35)three-stripemudturtles,ten(10)musktudles,andone(1)soft-shell
               turtle (Apaloneferoxjpaid by a businesscheck in the nmountofapproximately
               $548.00,signedbyM ICH AEL VAN NOSTR AND,andarmotatedwith an invoice
               num ber,:1965651.''

               On oraboutA ugust27,2018,STR IC TLY R EPTILES,IN C.,through itsw ebsite
               Edw w w .s
                        tridlyreptiles.
                                      tv''soldapproximately thirty (30)wild-caughtthreç-striped
                                            - 5 N
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             mudturtles(Kinosternon baurii),ininterstatecommercefrom theStateofFlorida
             to a purchaserin the State of Louisiana forapproximately $1,050 plus shipping
             costs.

        8    On or about Septem ber 13,2018,M ICH A EL V AN N O STR AN D ,STR IC TLY
             REPTILES,lNC.,andacoconspiratorpurchasedapproximaiely seven (7)three-
             stripedmudturtlesandthree(3)muskturtlescapturedfrom thewildintheStateof
             Florida,afterspecifically beingadvisedby thesellerthatthesellerhad acquiredthe
             three-stripe m ud tuMlesthe nightbefore.

             On or about September 17,2018,STRTCTLY REPTILES,lN C.,tlkrough its
             websitelcwww.strictlyreptiles.tv,''soldapproximatelytwenty-five(25)wild-caught
             three-striped mud turtles (Kinosternon bauriij,in interstate commerce from the
             StateofFloridato apurchaserin theStateofLouisianaforapproxim ately $875.00
             plusshipping costs.

        10   On oraboutSeptember 21,2018,O CHAEL VAN NO STRAND,on behalfof
             STR ICTLY RE PTILES, IN C ., purchased approxim ately twenty-eight wild-
             caughtthree-stripettlrtlesandfour(4)wild-caughtmuskturtles.
             on or about se' ptem ber 21, 2018, M ICH A EL VA N N O STR AN D stated to a
             harvesterof'
                        turtlesfrom thewild intheStateofFlorida,CGGetm em orethree-stripes
                 17



             On or about September 24,2018,through its website Etwww.strictlyreptiles.tv,''
             STRTCTLY REPTILES,INC.sold approximately forty-five (45)wild-caught
             three-striped mud tudles (Kinosternon lll/frfjl,in interstate commerce from the
             StateofFloridatoapurchaserintheStateofLouisianaforapproxim ately $1,800.00
             plusshipping costs.

             On or about October 1, 2018, through its w ebsite Gcw w w .strictlyreptiles.tv,''
             STRICTLY REPTILES,INC.soldapproximatelytwenty(20)wild-caughtthree-
             stripedmudt'urtles(Kinosternonbaurii),in interstatecommercefrom theStateof
             Florida to a purchaserin the State ofLouisiana for approxim ately $800.00 plus
             shipping costs.

             On oraboutOctober4,2018,in responseto a textm essage inquiry from a supplier
             ofFlorida wild-caught turtles regarding any need at STRICTLY REPTILES,
             IN C .for iguanas or brow n anoles,M ICH AEL V AN N O STR AN D advised the
             supplier(GY'es ...and 3 stripes.''

        15   On or about October 5, 2018, M ICHAEL VAN NO STRAND, on behalf of
             STRICTLY REPTILES,INC.,plzrchased approximately sixty-nine (69)wild-
             caught three-stripe mu4 tulles (Kinosternon baurii),which he purchased by
                                            6
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             businesscheck in theam olmtof$1,088.00.
        16   On or about October 5, 2018, M IC H A EL VA N N O STM N D , during a
             conversation with a supplier of three-stripe mud turtles (Kinosternon Jllz/rïfl,
             hazvested from the w ild in the State of Florida,asked the supplier,GGcan you get
             m ore thisw eekend.''

             On or about O ctober 9, 2018, M ICH AEL VA N N O STR AN D initiated an
             exchange oftextm essagesto a supplier ofFloridaw ild-caughtturtlesduring w hich
             M ICH AEL VAN NOSTR AND advised GtNeed m ore 3 stripes ...Allyou can
             get.''W hen the supplierresponded thathe w as (GW aiting forthe w ind to letoffso 1
             can getm orer''M ICH A EL V A N N O STR AN D replied,:tK .''

             On or about O ctober 17, 2018, M IC H A EL VA N N O STR AN D purchased
             approximately fifty-nine (59)wild-caughtthree-stripemud turtles (Kinosternon
             baurii),ten (10)wild-caughtcommon mudturtles(Kinosternonsubrubrum),and
             two (2)wild-caughtsofl-shellturtles (Apaloneferox),paying by businesscheck
             ntunber 40876 in the am ountof$970.00,drawn on the accountofSTRICTLY
             RE PTILES,IN C .

             OnoraboutOctoberj5,2018,acoconspiratortransportedapproximately292wild-
             caught three-striped mud turtles (Kinosternon bauriij,to MinmiInternational
             Airpol'
                   t,on behalfofSTRICTLY REPTILES,lNC.,which were described on a
             required accompanying Declaration,underpenalty ofperjury,as sourced from
             captivity,which w ere consigned and exported to Shanghai,China.

       20    On or about October 29, 2018, M IC H A EL VA N N O STR AN D purchased
             approximately forty-five (45)wild-caughtthree-stripe mud tartles(Kinosternon
             baurii)and one (1) Florida mud turtle (Kinosternon subrubrum steindachnerl),
             paying by business check number40929 in the nm ountof$710.00,drawn on the
             accotmtofSTRIC TLY REPTILES,IN C .

             On or about October 29,2018, a coconspirator, acting w ithin the scope of her
             em ploym ent at STR ICTLY R EPT ILE S,lN C .,sent an em ail from the internet
             address sreptilesnickv@ aol.com to allundercover agentofthe FW S located in
             Louisiana, advising that three-striped mud turtles were being added to
             STRICTLY'Spricelistatacostof$40foreachturtle,and stating,GtPleasegiveus
             tim e to w ork on this and you should see itwithin the hotlr.''

             On or about October 29, 2018, through its w ebsite iGw ww .strictlyreptiles.tvn''
             STRICTLY REPTILES,INC.sold approximately fifty (50)wild-caughtthree-
             striped mudturtles(Kinosternonbaurii),in interstatecommercefrom theStateof
             Florida to a purchaserin the State ofLouisianaforapproxim ately $2,000.00 plus
             shipping costs.
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              On or about January 10, 2019, at the business prem ises of STRICTLY
             REPTILES,lNC.,a coconspirator purchased approximately thirty-eight (38)
             wild-caughtthree-stripemudturtles(Kinosternonbaurii),paidby businesscheck
             number 41218,in the am ountofapproxim ately $573.00,wllich he signed in the
             nnm e M IC H A EL VA N N O STR AN D .

        24   On or about January 17, 2019, at the business prem ises of STRICTLY
             REPTILES,INC.,coconspirators purchased approximately twenty-four (24)
             wild-caughtthree-stripemudturtles(Kinosternon bauriijspaidby businesscheck
             ntunber 40240,in the am otmt of approxim ately $369.00, signed in the nam e
             M ICH AEL V A N N O STR AN D.

             On or about January 23, 2019, M ICH A EL V AN N O ST M N D contacted a
             supplierofwild-caughtFlorida turtlesby textmessaje stating,çGIneed more 3
             stripes''andwhen advisedbythesupplier,Ilok Icango tonight,''M ICH AEL VAN
             N O STR AND responded lfGreat.''

             On or about January 24, 2019, at the business premises of STRICTLY
             R EPTILE S, IN C., M ICH A EL V AN N O STR AN D and other coconspirators
             plzrchased approximately fifty-six (56) wild-caught three-stripe mud turtles
             (Kinosternon baurii),paid by business check number42014,in the amountof
             approxim ately $851.00,signed in thenam eM ICH AEL VAN NOSTRAND.
       27    On oraboutJanuary 25,2019,through M inm iInternationalAirport,STRICTLY
             REPTILES,INC.expodedto Japan approximately 50 tfiftylthree-stripedmud
             ttlrtles(Kinosternon baurii),which were described on a required accompanying
             Declaration,under penalty ofpetury,as sotlrced from captivity,with a total
             declared valueof$2,000.00.

       28.   On or about January 31, 2019, at the business prem ises of STR ICTLY
             REPTILES, INC., M ICH AEL VAN NOSTRAND and other coconspirators
             purchased approximately fifty-five (55) wild-caught three-stripe mud turttes
             (Kinosternon baurii)and approximately two (2)wild-caughtFloridamud turtles
             (Kinosternonsubrubrum steindachneri),paidbybusinesschecknumber42038,in
             the amotmt of approxim ately $925.00, signed in the nam e M ICH AEL VAN
             N O STR AN D .

       29    On or about February 1,2019,tlu-ough its website çtw ww.strictly reptiles.tv,''
             STRICTLY R EPTILES,IN C .,through a coconspirator,sold approxim ately forty
             (40) wild-caught three-striped mud turtles (Kinosternon baurii), in interstate
             com m erce from the State of Florida to a purchaser in the State of Louisiana for
             approximatelysl,6oo.ooplusshipping costs.

                                             8 -
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                                                                I

                   On or about Februar'
                                      y 12, 2019, STRICTLY REPTILES, INC. sold
                   approximately four hundred (400) wild-caught three-striped mud turtles
                   (Kinosternon bauriij, in interstate commerce from the State of Florida to a '
                  purchaserin the State ofCalifom iaforapproxim ately $16,875.00.
           A11in violation ofTitle 18,United StatesCode,Section 371.




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                     AT
                      zToaxsv
      J




               k .
    T om as A .W atts-Fi G erald
    A ssistantU nited Stat sA ttorney




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                               UNITED STATES DISTRICT COIJRT
                                          SOUTH ERN DISTR ICT O F FLOR TD A

UN ITED STA TES O F A M ERICA                            CASE NO .

                                                         C ERTIFICA TE O F TR IA L ATTO R NEY.
M ichaelVan Nostrand,etal.
                                                         superseding caseInform ation:
                            Defendants.     /

CourtDivision:(selectOne)                                New defendantts)              Yes       No
 z      M iami          Key W est                        N um berofnew defendants
        FTL    -        W PB          FTP                Totalnumberofcounts

               lhave carefully considered the allegations ofthe indictment,the numberofdefendants,the num berof
               probablewitnessesand thelegalcomplexitiesoftheIndictm ent/lnformation attachedhereto.
               I am aware thatthe inform ation supplied on this statementw illbe relied upon by the Judges of this
               Courtilzsetting theircalendars and scheduling crim inaltrials underthe mandate ofthe Speedy Trial
               Act,Title28U .S.C.Section 3161.
               Interpreter:       (YesorNo)         No
               Listlanguage and/ordialect
        4.     Thiscasew illtake 0 daysforthepartiesto try.
               Pleasecheck appropriate category and typeofoffense listed below :
               (Checkonl
                       yone)                                    (Checkonlyone)
        I      0to 5 days                       /               Petty
        11     6to 10 days                                      M inor
        III    11to 20 days                                     M isdem .
        IV     21to 60 days                                     Felony                 z
        V      61daysandover
        6.     Hasthiscasepreviously beenfiled in thisDistrictCourt?                 (YesorNo)   No
         Ifyes:Judge                                     Case No.
         (Attachcopy ofdispositiveorder)
         Hasacomplaintbeen filedinthismatter?            (YesorNo)        YeS
         Ifyes:M agistrate CaseN o.                      19-M J-02161-TORRES
         Related m iscellaneousnumbers:
         Defendantts)infederalcustodyasof
         Defendantts)instatecustody asof
         Rule 20 from the Districtof
         lsthisapotentialdeatlzpenaltycase?(YesorNo)                No
               D oesthiscaseoriginate from a m aterpending in the CentralRegion oftheU .S.Attorney'sOffice
               priortoAugust9,2013 (M ag.JudgeAlicia0.Valle)?                        Yes         No ?'
        8.     D oesthiscaseoriginate from a m atterpending in the Northern Region ofthe U .S.A ttorney'sOffice
               priortoAugust8,2014 (M ag.JudgeShaniekM aynard)?                      Yes         No z
               D oesthiscase originate from a m atterpending in the CentralRe ion oftheU .S.Attorney'sOffice
               priorto October3,2019 t
                                     'M ag.JudgeJared Strauss . k                      s         No z
                                                                                 +

                                                                 T OM AS W A TS-FI ZGEM LD
                                                                 A SSISTANT UNITED STA TES ATTORN EY
 mpenaltx sheetts)auached                                        FloridaBarx o. 0273538                  Rsvgsxx
Case 1:21-cr-20495-KMW Document 1 Entered on FLSD Docket 09/30/2021 Page 11 of 14




                            UNITED STATES DISTRICT COURT
                            SO U TH E RN D ISTR ICT O F FLO R IDA

                                        pExAcTk SHEET
  D efendant'sN am e:M ICHA EL V ON N O STM N D

  Case N o:

  Cotm ts#:1

  Conspiracy to trafficillegalwildlifein interstateand foreicn com m erce

  Title 18sUnited States CodesSection 371

  *M ax.Penalty:               Five(5)years'imprisonment




   WR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,paroleterm s,or forfeitures thatm ay be applicable.
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                            U N ITED STA TES DISTRIC T C O U R T
                            SO U TH ERN D ISTR IC T O F FLO R ID A

                                       PEN A LTY SH EET

  D efendant'sN am e:STRICTLY REPTILES.IN C.

  Case N o:

  Colm ts#:1

  Conspiracy totrafficillegalwildlifein interstateand foreign comm erce                    -




  Title 18eUrlited StatesCodesSection 371

  *M ax.Penalty:              $500,000 Fine




   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,




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AO 455(Rev.01/09)WaiverofanIndictment

                                U M TED STATES D ISTRICT C OIJRT
                                                     forthe
                                           Southern D istrictofFlorida

               United StatesofA merica                 )
                           V.                          )     CaseNo.
                MichaelVan Nostrand                    )
                                                       )
                                                       )
                                         W AIVER OF AN INDICTM ENT

      1understand thatlhavebeen accused ofone ormoreoffensespudishableby im prisonmentfortnorethan one
year.1wasadvised in open courtofmy rightsand thenature oftheproposed chargesagainstm e.

         Afterreceiving thisadvice,1waivemy rightto prosecution by indictmentand consentto prosecution by
inform ation.




                                                                               De# ndant'
                                                                                        ssignature



                                                                          Signatureofdefendant'
                                                                                              sattorney


                                                                         Printednameofdefendant'
                                                                                               sattorney


                                                                                Judge'
                                                                                     ssignature


                                                                           Judge'
                                                                                sprinted nameand title
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1   AO 455(Rev. 01/09)Waiverofanlndictment

                                     U NITED STATES D ISTRICT C OIJRT
                                                         forthe
                                               Southern DistrictofFlorida

                   United StatesofAm erica
                              V.                                  CaseN o.
                    Strictl
                          y Reptiles,lnc.

                            De#ndantn
                                             W AIV ER OF AN INDICTM ENT

          Iunderstand that1have been accused ofoneorm oreoffensespunishable by imprisonm entform orethan one
    year.1wasadvised irlopen courtofmy rightsand the natureoftheproposed charges againstme.

           Afterreceiving this advice,1waivem y rightto prosecution by indictm entand consentto prosecution by
    information.




                                                                                   De#ndant'
                                                                                           ssignature



                                                                               Signatureofde#ndant'
                                                                                                  sattorney


                                                                             Printednameofdefendant'sattorney


                                                                                     Judge'
                                                                                          ssignature


                                                                                Judge'
                                                                                     sprinted name andtitle
